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1                                                                            Judge Leighton
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8
                                 UNITED STATES DISTRICT COURT
9                               WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
10
     UNITED STATES OF AMERICA,        )
11                                    )                        NO.    CR04-5350RBL
                     Plaintiff,       )
12                                    )
                v.                    )
13                                    )                        ORDER GRANTING JOINT
     LEONARD IRVING,                  )                        MOTION TO REDUCE SENTENCE
14                                    )                        RE CRACK COCAINE OFFENSE
                     Defendant.       )                        PURSUANT TO 18 U.S.C. 3582
15   _________________________________)
16           THIS MATTER comes before the Court upon the joint motion of the parties to
17   reduce the defendant’s sentence for a crack cocaine offense, pursuant to Title 18, United
18   States Code, Section 3582.
19           The Court, having considered the entirety of the record and files herein, and the
20   reasons stated in the motion, and the Court being fully advised in the matter, it is
21   therefore
22           ORDERED that the motion is GRANTED.
23           IT IS FURTHER ORDERED that the government shall submit a proposed
24   //
25   //
26   //
27   //
28   //

     Order Granting Motion to Reduce Sentence                                            UNITED STATES ATTORNEY
                                                                                         700 STEWART STREET, SUITE 5220
     Re Crack Cocaine Offense Pursuant to 18 U.S.C. 3582 – 1                            SEATTLE, WASHINGTON 98101-3903
     U.S. v. Irving/CR04-5350RBL                                                                 (206) 553-7970
             Case 3:04-cr-05350-RBL            Document 590    Filed 03/11/08   Page 2 of 2



1    Amended Judgment sentencing the defendant to 49            months imprisonment, with all
2    other conditions remaining the same.
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     IT IS SO ORDERED this 11th day of March, 2008.
                                                       A
                                                       RONALD B. LEIGHTON
                                                       UNITED STATES DISTRICT JUDGE
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     Presented by:
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7
     s/Douglas B. Whalley
     DOUGLAS B. WHALLEY
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     Assistant United States Attorney
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     700 Stewart Street, Suite 5220
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     Order Granting Motion to Reduce Sentence                                      UNITED STATES ATTORNEY
                                                                                   700 STEWART STREET, SUITE 5220
     Re Crack Cocaine Offense Pursuant to 18 U.S.C. 3582 – 2                      SEATTLE, WASHINGTON 98101-3903
     U.S. v. Irving/CR04-5350RBL                                                           (206) 553-7970
